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                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA

                                    CASE NO. 02-80172-CR-MARRA


   UNITED STATES OF AMERICA,

               Plaintiff,

         vs.

   EDDIE PICADO,

               Defendant.
                                             /


                            JUDGMENT & COMMITMENT UPON REVOCATION
                                     OF SUPERVISED RELEASE

               THIS CAUSE came before the Court at a sentencing for violations of supervised
   release held on November 30, 2007. The Court adopts the magistrate judge’s Report and
   Recommendation and finds the defendant in violation of his supervised release. Therefore,
   it is hereby
               ORDERED and ADJUDGED that the defendant’s term of supervised release
   imposed by the Court is revoked and the defendant is committed to the custody of the U.S.
   Bureau of Prisons for a term of five (5) months with no supervision to follow. The Court
   recommends the defendant be designated to an institution in South Florida.
               DONE and ORDERED in West Palm Beach, this 30 th day of November, 2007.


                                                     _______________________________
                                                     KENNETH A. MARRA
                                                     UNITED STATES DISTRICT JUDGE
   cc:         Janice LeClainche, AUSA
               Peter Birch, Esq.
               U.S. Probation - Joan Balis
               U.S. Marshal
